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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                        8:13CR432
                       Plaintiff,

       vs.                                                   PRELIMINARY ORDER OF
                                                                  FORFEITURE
JUAN MANUEL DIAZ-LOPEZ,

                       Defendant.



       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 70). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement (Filing No. 69), whereby he has

agreed to enter a plea of guilty to Count I and the Forfeiture Allegation of said Indictment.

The Defendant has agreed to plead guilty to Count I and agreed to admit to the Forfeiture

Allegation of said Indictment. Count I charged the Defendant with conspiracy to distribute

methamphetamine, in violation of 21 U.S.C. § 846. The Forfeiture Allegation charged the

Defendant with using $5,347.25 in United States currency to facilitate the commission of the

conspiracy and/or are derived from proceeds obtained directly or indirectly as a result of the

commission of the conspiracy.

       2.    By virtue of said plea of guilty, the Defendant forfeits his interest in the

aforementioned currency, and the United States should be entitled to possession of said currency,

pursuant to 21 U.S.C. ' 853.
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        3. The United States= Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        A. The United States= Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon the Forfeiture Allegation of the Indictment and the Defendant=s plea of

guilty, the United States is hereby authorized to seize the $5,347.25 in United States currency.

        C. The Defendant=s interest in the aforementioned currency is hereby forfeited to the

United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

        D. The aforementioned currency is to be held by the United States in its secure custody

and control.

        E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site, www.forfeiture.gov,

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

currency in such manner as the Attorney General may direct, and notice that any person, other than

the Defendant, having or claiming a legal interest in any of the subject currency must file a Petition

with the court within thirty days of the final publication of notice or of receipt of actual notice,

whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the currency, shall be signed by

the Petitioner under penalty of perjury, and shall set forth the nature and extent of the Petitioner=s



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right, title or interest in the subject currency and any additional facts supporting the Petitioner=s

claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the currency to this Order as a substitute for published

notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       ORDERED this 10th day of March, 2014.


                                                      BY THE COURT:



                                                      s/ Joseph F. Bataillon
                                                      United States District Court




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